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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                              §
                                                     §             Case No. 20-30967
 Watson Grinding and Manufacturing                   §
 Co.,                                                §                 Chapter 11
                                                     §
          Debtor.                                    §


          ORDER PURSUANT TO 11 U.S.C. §§ 327(a) AUTHORIZING RETENTION
          AND EMPLOYMENT OF MACCO RESTRUCTURING GROUP LLC AS
                    FINANCIAL ADVISOR FOR THE DEBTOR
                           (Relates to Docket No. ____)
                                                                                 1
          CAME FOR CONSIDERATION on the application (“Application”) of the above-

captioned debtor (“Debtor”) for entry of an order under sections 327(a) of title 11 of the United

States Code (“Bankruptcy Code”), Rules 2014 and 5002 of the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rules”), and Rule 2014-1 of the Local Rules of the United States

Bankruptcy Court for the Southern District of Texas (“Local Rules”), authorizing the employment

and retention of MACCO Restructuring Group LLC (“MACCO”) as its financial advisor pursuant

to the terms of the Engagement Agreement dated as of February 25, 2020 (“Engagement

Agreement”); and the Court having considered the Application and the Declaration of Drew

McManigle in support of the Application (“Declaration”); and the Court finding that (A) MACCO

(i) does not hold an interest adverse to the interest of the estates with respect to the matters on

which MACCO will be employed; and (ii) is a “disinterested person” as that term is defined

under section 101(14) of the Bankruptcy Code; (B) the Application and the Declaration are in

full compliance with all applicable provisions of the Bankruptcy Code, the Bankruptcy Rules and

the Local Rules; (C) the relief requested in the Application is in the best interests of the Debtor,

their estates and creditors; and (D) notice of the Application was due and proper under the

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circumstances; and after due deliberation, and good and sufficient cause appearing therefore, it is

hereby:

          ORDERED that the Application is GRANTED as set forth herein; it is further

          ORDERED that the retention and employment of MACCO as financial advisor to the

Debtor, pursuant to sections 327(a) of the Bankruptcy Code, Bankruptcy Rules 2014 and 5002,

effective as of the Petition Date pursuant to Local Rule 2014-1, on the terms and conditions

set forth in the Engagement Agreement (attached to the Application as Exhibit “C”) and the

Application, is approved subject to the terms of this Order; it is further

          ORDERED that the January 24 Claimants Committee (the “Committee”) shall have the

right to (a) communicate directly with MACCO regarding any reports MACCO produced on behalf

of the Debtor, with notice to Debtor’s counsel, (b) obtain copies of work papers and background

materials used by MACCO in generating reports on behalf of the Debtor, with a copy of any such

request being provided to Debtor’s counsel, and (c) make reasonable requests that MACCO perform

additional analysis or create additional reports on behalf of the Committee, subject to the Debtor’s

right to seek relief if the Debtor believes any such request is not reasonable or necessary; and it is

further

          ORDERED that any communication between MACCO and the Committee shall be subject

to a common interest privilege with the Debtor; and it is further

          ORDERED that pursuant to Fed. R. Evid. 502(d), communications and disclosures among

the Debtor, MACCO and the Committee that occur in accordance with this Order will not result in

the waiver of any applicable privilege or protection in this bankruptcy case or in any other federal

or state proceeding; and it is further

          ORDERED that nothing in this Order shall prohibit the Committee from filing an



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application to employ a separate financial advisor should it determine that it needs to do so in the

future; and it is further

        ORDERED that MACCO shall be compensated in accordance with the applicable

procedures set forth in Bankruptcy Code Sections 330 and 331, the Bankruptcy Rules, the

Bankruptcy Local Rules, the U.S. Trustee Guidelines and further orders of this Court for all

services performed and expenses incurred on or after the Petition Date; provided, however, that

MACCO shall not seek reimbursement from the Debtor’s estate for any fees incurred in defending

any of MACCO’s fee applications in the Chapter 11 Case. For billing purposes, MACCO shall

keep its time in one tenth (1/10) hour increments in accordance with the U.S. Trustee Guidelines.

MACCO shall make a reasonable effort to comply with the U.S. Trustee’s requests for information

and additional disclosures, both in connection with the Application and any interim and final fee

applications to be filed by MACCO in this Chapter 11 Case. All billing records filed in support of

fee applications will use an open and searchable electronic data format; it is further

        ORDERED that MACCO is authorized to render the professional services set forth in the

Application and Engagement Agreement; it is further

        ORDERED that the indemnification provisions included in the Engagement Letter and its

attachments are approved, subject to the following:

        (a)     As set forth in paragraph (c), MACCO shall not be entitled to indemnification,
                contribution or reimbursement pursuant to the Engagement Letter for services,
                unless such services and the indemnification, contribution or reimbursement
                therefore are approved by the Court;

        (b)     The Debtors shall have no obligation to indemnify MACCO, or provide
                contribution or reimbursement to MACCO, for any claim or expense that is either:
                (i) judicially determined (the determination having become final) to have arisen
                from MACCO’s gross negligence, willful misconduct, fraud, breach of fiduciary
                duty, if any, bad faith or self-dealing, or (ii) settled prior to a judicial determination
                as to MACCO’s gross negligence, willful misconduct, breach of fiduciary duty, or
                bad faith or self-dealing but determined by this Court, after notice and a hearing to

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               be a claim or expense for which MACCO should not receive indemnity,
               contribution or reimbursement under the terms of the Agreement as modified by
               this Order; and

       (c)     If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
               these cases (that order having become a final order no longer subject to appeal),
               and (ii) the entry of an order closing these chapter 11 cases, MACCO believes that
               it is entitled to the payment of any amounts by the Debtors on account of the
               Debtors’ indemnification, contribution and/or reimbursement obligations under the
               Engagement Letter (as modified by this Application), including without limitation
               the advancement of defense costs, MACCO must file an application therefore in
               this Court, and the Debtors may not pay any such amounts to MACCO before the
               entry of an order by this Court approving the payment. This subparagraph (c) is
               intended only to specify the period of time under which the Court shall have
               jurisdiction over any request for fees and expenses by MACCO for indemnification,
               contribution or reimbursement, and not a provision limiting the duration of the
               Debtors’ obligation to indemnify MACCO. All parties in interest shall retain the
               right to object to any demand by MACCO for indemnification, contribution or
               reimbursement; it is further

       ORDERED that MACCO shall provide ten-business-days’ notice to the Debtors, the U.S.

Trustee, and any official committee before any increases in the hourly rates set forth in the

Application or the Engagement Letter are implemented. The U.S. Trustee retains all rights to object

to any rate increase on all grounds, including the reasonableness standard set forth in section 330

of the Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to

section 330 of the Bankruptcy Code; it is further

       ORDERED that in the event that, during the pendency of these cases, MACCO seeks

reimbursement for any attorneys’ fees and/or expenses, the invoices and supporting time records

from such attorneys shall be included in MACCO’s fee applications and such invoices and time

records shall be in compliance with the Bankruptcy Local Rules, and shall be subject to the U.S.

Trustee Guidelines and approval of the Court under the standards of Bankruptcy Code sections

330 and 331, without regard to whether such attorney has been retained under Bankruptcy Code

section 327; provided, however, that MACCO shall not seek reimbursement from the Debtors’



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estates for any fees incurred in defending any of MACCO’s fee applications in these bankruptcy

cases; it is further

        ORDERED that notwithstanding anything in the Application to the contrary, to the extent

that MACCO uses the services of independent or third party contractors or (“Contractors”) in

these cases and MACCO seeks to pass through the fees and/or costs of the Contractors to the

Debtors MACCO shall (i) pass through the fees of such Contractors to the Debtors at the same rate

that MACCO pays the Contractors; and (ii) seek reimbursement for actual costs of the Contractors

only. In addition, MACCO shall ensure that the Contractors perform the conflicts checks and file

such disclosures as required by Bankruptcy Code and Bankruptcy Rules; it is further

        ORDERED that to the extent the Debtors wish to expand the scope of MACCO’s services

beyond those services set forth in the Engagement Letter or this Order, the Debtors shall be

required to seek further approval from this Court. The Debtors shall file notice of any proposed

additional services (“Proposed Additional Services”) and any underlying engagement agreement

with the Court and serve such notice on the U.S. Trustee, any official committee appointed in these

chapter 11 cases, and any party requesting notice under Bankruptcy Rule 2002. If no such party

files an objection within 21 days of the Debtors filing such notice, the Proposed Additional

Services and any underlying engagement agreement may be approved by the Court by further order

without further notice or hearing; it is further

        ORDERED that to the extent there is inconsistency between the terms of the Engagement

Letter, the Application, McManigle Declaration and this Order, the terms of this Order shall

govern; it is further




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        ORDERED that MACCO shall use its best efforts, and will coordinate with the Debtors

and its other retained professionals, not to duplicate any of the services provided to the Debtors by

any of its other retained professionals; it is further

        ORDERED that MACCO will review its files periodically during the pendency of these

chapter 11 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If

any new relevant facts or relationships are discovered or arise, MACCO will use reasonable efforts

to identify such further developments and will promptly file a supplemental declaration, as

required by FED. R. BANKR. P. 2014(a).

        ORDERED that any indemnification claim is capped at the amount of MACCO’s allowed

fees; and it is further

        ORDERED that MACCO shall be compensated in accordance with the procedures set forth

in the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, this

Order and any other applicable orders of this Court; and it is further

        ORDERED that the Debtor is authorized to take any and all actions necessary to effectuate

the relief granted herein; and it is further

        ORDERED that this Court shall retain jurisdiction to construe and enforce the terms of

this Order.


        Signed this ______ day of ________________, 2020.




                                                ____________________________________
                                                Marvin Isgur
                                                United States Bankruptcy Judge




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